\OO°\]O\U\-Pb-)[\))-\

[\)[\)N[\)NN[\)NNl-dl-a>d»dr-r-¢»-a\-»»-ic-¢
OO\!O\LI'|-PL»JN\-‘O\DOO\]O\(II~§UJ[\)'-‘O

 

’ Qe 14-03693-|\/||\/|7 F' ed 07/29/15 l Entered 07/30/15 1023 214 DOC 109 PQ. 1 019

sierra J. spitzer, Esq. BN 234462 g;;;;; : §;;.°§§§?.;?S‘iismn
SCHWARTZ SEMERDJlAN CAULEY MooT LLP Judg,. '_; mann mims
101 West Broadway, Suite 810 Truste*"; RI°“““° mn
san Diego, cA 92101 ‘3*::§§3£;_*.'5’§-------_----------_§;--
Telephgne: 619) 236-8821 md -; m §‘-;' 2015 15‘51'
Facsimlle: ( 19) 236-8827 - §§§‘;§§t; 227;430
mont : $17 ~ ___
Attorne s for Defendant """"""""""""""""""
NATIO WIDE MUTUAL INSURANCE coMPBEi\‘lS( 31§§“§3@§“3;¢§ g?;rv .
Southern ls mc a 1 ornll
UNITED STATES BANKRUPTCY COURT
Southern Dlstrlct of Callfornla \!! A FAX
In Re US Bankruptcy Court Case No. 14-
_ 03693-MM7 '
' iT)A].Bl§lr§B(IIFYE)RNARD AUSDEMORE aka
a I
DESIGN/BUILD TENANT MOT 0§11]?'1(‘)(1){1\/1[z E'[I‘JII(];: §§ AR\(()M THE
Il\/[PROVEMENTS, UNDER 11 U.S.C. §'362

Keviri T. Cauiey, ESq.(§sBN 105082)

gwith sup ortin declarations
(A TION NO ANKRUP CY
FORUM) ,

Debtor.

 

 

 

` Defendant Nationwide Mutual Insurance Company (“Nationwide”)
respectfully submits the following Points and Authorities in support of its motion
for a relief from the automatic stay to allow its motion for summary judgment as to
the complaint of Plaintiff/Debtor J an Bernard Ausdemore, aka DBTI, dba
Design/Build Tenant Improvement (“Ausdemore”) to be heard in the San Diego
Superior Cou:rt.

FACTUAL SUMMARY
On August 17, 2012, approximately two years before the Chapter 7 Was filed,

Au'sdemore',v in his individual capacity and doing business under the fictitious

l

 

 

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

 

30@ 3/~/‘ 971

T

 

\SOG\IO\Ul-PUJN

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Se 14-03693-|\/||\/|7 |Yd 07/29/15 Entered 07/30/15 1023 214 DOC 109 PQ. 2 019

business name of Design/Build Tenant Improvements, filed suit in San Diego
Superior Court against Nationwide (San Diego Superior Court Case No. 37-2012-
00102525-CU-CO-CTL). On February 6, 2013, Ausdemore filed a First Amended
Complaint (which is the operative complaint) levying the following causes of action
against Defendant Nationwide: (i) breach of contract; (ii) breach of the implied
covenant of good faith and fair dealing; and (iii) violation of California Business &
Professions Code §7071.11. [A fourth cause of action for unjust enrichment is
levied against Defendant David Youngwirth only.]

Nationwide filed a motion for summary judgment/adjudication as to all three
causes of action alleged against it in Ausdemore’s complaint The motion was fully
briefed and scheduled to be heard on May 9, 2014 in San Diego Superior Court.
One day prior to the hearing, Ausdemore filed a Chapter 7 petition with this Court.
Bankruptcy Trustee, Richard Kipperman, was appointed to the case.

On December 4, 2014, Mr. Kipperman filed a proposed abandonment of
Ausdemore’s San Diego Superior Court lawsuit against Nationwide. On January
20, 2015, this Court granted the order for the trustee’s abandonment Mr.
Kipperman is actively investigating the assets; thus, the bankruptcy case is likely to
continue for quite awhile still, leaving Nationwide waiting on the defensive for
indeterminate amount of time.

As such, Nationwide is now seeking more immediate relief from this Court.
Although established case law already provides that the automatic stay does not
apply to actions brought by the debtor (as is the case here), Nationwide seeks a
formal order from this Court to this effect. Said request for relief is also supported
by cause and is appropriate under the circumstances

LEGAL ANALYSIS

A. The Automatic Stay Does Not Anplv To Action_s__l}V the Debtor.

In the California Court of Appeals case, Shah v. Glendale F ederal Bank, 44
Cal.App.4th 1371 (1996), the Court examined the effect of an automatic stay

2

 

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

 

 

 

\oOO\lO\Lh-I>!.»JN)-\

NNNNNNNNN»-»-.»_-»-_._.'._.._.._.._.._.
oc\ic\ui.i>wi\)»-‘o\ooo\)o\ui.i>wz\)--o

ESe 14-03693-|\/||\/|7 Fi ed 07/29/15 Entered 07/30/15 102%14 DOC 109 PQ. 3 019

provision ( 11 U.S.C. 6 362, subd. (a)( 111 on a lawsuit initiated by the debtor (rather
than against the debtor). The Court first looked at the language of title ll of the
United States Code, section 362, subdivision (a)(l) (“section 362(a)(1)”) and found
that the statutory language with regard to the automatic stay provision is clear and
there is no uncertainty as to the legislative intent. (Uniied States v. Ron Pair
Enterprises, Inc. (1989) 489 U.S. 235, 240-241, 109 S.Ct. 1026, 1029-1030, 103
L.Ed.2d 290.) The statute states: '
“(a) Except as provided in subsection (b) of this section, a petition filed under
section 301, 302, or 303 of this title, or an application filed under section
5(a)(3) of the Securities Investor Protection Act of 197 0, operates as a stay,
applicable to all entities, of_[1}] (l) the commencement or continuation,
including the issuance of employment of process, of a judicial, administrative,
or other action or proceeding against the debtor that was or could have been
commenced before the commencement of the case under this title....” (Italics
added.)

California decisional authority holds, based on the plain language of section

 

362( a)§ 1 ), the automatic stay is inapplicable to superior court actions initiated by the
debtor. (Shorr v. Kin~a’ ( l99l) l Cal.App.4th 2491§4-255, 2 Cal.Rptr@ 192 [the
automatic stay provision is inapplicable ton an action brought by the debtor] ; 1_4_.
Gronne & Sons Glass Co., Inc. v. Fireman’s Fund l_n_s. Co. (1991) _2_3_2 Cal.ADn.Bd
220, 226-227, 283 Cal.Rptr. 352 [“a cause of action brought by the debtor is not
tolled by the Bani<wpicy Aci”]; manion v. Carnazion Co. (1989) 215 Cai.App.zd
161. 164¢_.263 Cal.Rnt_r. 476 [“a debtor’s cause of action is not tolled by the filing of
a bankruptcy petition”]; Danielson v. ITTIndustrial Credit Co. (1988) 199 v
Cal.App.$d 645. 6522 245 Cal.Rntr. 12_6 [“nothing in the Bankruptcy Act tolls a

debtor’s cause of action”].) Accordingly, the stay created by Ausdemore’s

 

bankruptcy filing does not apply to his pending Superior Court case against

3

 

 

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

 

 

\OOO\`|O\L}\-PL»JN»-a

[\)[\)[\Jl\)[\.)»_ai-li_av-)-‘»-~)-‘»-l»-a»-‘
&WNWO\OOO\]OU\-BUJN'-‘O

[\)
Ll\

 

NI\)N
OC\JO\

 

ES€ 14-03693-|\/||\/|7 F' ed 07/29/15 Entered 07/30/15 1023 214 DOC 109 PQ. 4 019

Nationwide, and therefore an order from this Court allowing the Superior Court to
hear Nationwide’s motion for summary judgment is appropriate

B. Cause_l§l_irists to Grant Relief from the Automatic Stay

In addition to the inapplicability of the automatic stay in this action, other
“cause” exists in favor of lifting the stay to allow Nationwide’s motion for summary
judgment to proceed. Specifically, ll USC section 362(d)(l) provides that the
Bankruptcy Court may grant relief from the automatic stay provided by § 362(a)
"for cause." "Because there is no clear definition'of What constitutes `cause',
discretionary relief from the stay must be determined on a case by case
basis." MacDonald v. MacDonald (In re MacDonald), 755 F.2d 715 716 (9th Cir.
1985)

The burden of proof on a motion to modify the stay is a shifting one. In re

 

Plumberex

Specialty Products, Inc., 311 BR 551, 557 (Bankr.C.D. Cal. 2004). To obtain relief,
the movant

must make an initial showing of "cause"; once established, the burden shifts to the
debtor to show

that relief is unwarranted Id.; In re Sonnax Indus., ]nc., 907 F.2d 1280, 1285 (2nd
Cir. 1990).

While there is no bright line definition of what constitutes "cause" for
purposes of lifting the stay under Section 362(d)(I), courts have devised various
factors to consider in determining whether the stay should be lifted to allow a
creditor to continue pending litigation in a non~bankruptcy forum. While the specific
factors are not strictly uniform among the courts, the most oft-cited list of factors '
comes from the Cartis opinion (In re Curtis, 40 B.R. 795,799-800 (Bankr. D.Utah
1984) - which have come to be known as the "Curtis Factors." While the complete

4

 

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

 

 

L».)

\OOC\!O\Lh-l>

10
ii
12
13
'14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

E

Se 14-03693-|\/||\/|7 Wd 07/29/15 Entered 07/30/15 102314 DOC 109 PQ. 5 Of 9

list of Curtis Factors are twelve in numberl, not all factors will be relevant in every
case, nor is a court required to give each factor equal weight in making a
determination In re Plumberex Specialty Products, [nc., 311 B.R. 551, 560
(C.D.Cal. 2004). An analysis of those factors that are relevant to the instant case
reveals that lifting the stay is both appropriate and warranted.

As addressed in further detail below, in the instant matter, numerous Curtis
Factors apply and also support the granting of relief from stay to allow the hearing
of Nationwide’s summary judgment motion in the pending Superior Court case.

1. Relief Shoul<_i Result In Complete Resolution of the Issues.

If granted, Nationwide’s motion for summary judgment will be dispositive of
all pending claims by_ Ausdemore against it and will result in the dismissal of
Ausdemore’s case against it. Even if only summary adjudication is granted to
certain claims, it will still nonetheless resolve a significant portion of the issues in
the case with finality. _

2. Relief Will Not Interfere with the Ba_n_ki;untcv Case Nor Preiiglice Others.

The bankruptcy trustee has already elected to abandon Ausdemore’s Superior
Court action against Nationwide, Thus, the bankruptcy case and the superior court

case are already operating independently and action in one will not affect the other.

 

l lThe Curtis Factors include: (1) Whether the relief requested will result in a partial or complete
resolution of the issues; (2) The lack of any connection with or interference with the
bankruptcy case; (3) Whether the foreign proceeding involves the debtor as a fiduciary; (4)
Whether a Specialized tribunal has been established to hear the particular cause of action and
whether that tribunal has the expertise to hear such cases; (5) Whether the debtor's.insurance
carrier has assumed full financial responsibility for defending the litigation; (6) Whether the
action essentially involves third parties, and the debtor functions only as a bailee or conduit for
the goods or proceeds in question; (7) Whether the litigation in another forum would prejudice
the interests of other creditors, the creditors' committee and other interested parties; (8)
Whether the judgment claim arising from the foreign action is subject to equitable
subordination under Section 510(0); (9) Whether movant's success in the foreign proceeding
Would result in a judicial lien avoidable _by the debtor under Section 522(1); (10) The interests
of judicial economy and expeditious and economical determination of litigation for the parties;
(11) Whether the foreign proceedings have progressed to the point where the parties are
prepared for trial; and (12) The impact of the stay on the parties and the "balance of hurt." In re
Curtis, 40 B.R. 795,799-800 (Bankr. D.Utah 1984).

5

 

 

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

 

 

 

 

 

CES€ 14-03693-|\/||\/|7 F&d 07/29/15 E_nt€l’ed 07/30/15 102%14 DOC 109 PQ. 6 Of 9
1 For the same reason, this will not prejudice the claims or interests of the other
2 creditors in the case,
3 3. The Stav Shoulc_i Be Lifted In the Interest of Juc_licial Economv.
4 The parties had fully briefed and were ready to argue Nationwide’s summary
5 judgment motion when Ausdemore filed for bankruptcy just one day before the
6 scheduled hearing This also resulted in the court abstaining from issuing a tentative
7 ruling on the motion. 4
8 Nationwide’s motion is poised to dispose of all causes of action alleged
9 against it and, if granted, will result in Nationwide being dismissed with prejudice
10 from the case. The Superior Court action has been abandoned by the Bankruptcy
11 Trustee; thus, the issue will not be heard by this Court. Rather, it will be delayed for
12 an uncertain matter of time until after the bankruptcy proceedings have concluded.
13 It is our understanding that the trustee is actively investigating the assets in this case
14 and that the bankruptcy matter is likely to continue for quite some time to come.
15 Thus, given that allowing the Superior Court to hear Nationwide’s motion will not
16 interfere with the bankruptcy case as well as the fact that it will possibly dispose
17 entirely of Ausdemore’s case against Nationwide, it is in the interest of justice and
18 judicial economy that the automatic stay be lifted allowing the Superior Court to
19 rule on the summary judgment motion on a more expedited basis rather than being
1 20 forced to wait for the bankruptcy proceedings to end.
2 21 4. The _"balance of hurt" weighs in favor of lifting the stay,
22 Nationwide’s summary judgment motion has already been fully briefed by the
i 23 parties; thus, no further written motion work would need to be done. The motion
24 Would simply need to be reset for a new hearing date. As such, allowing the
25 summary judgment hearing to go forward would not impose a substantial burden on
26 either of the parties
27 By contrast, the current imposition of the stay is allowing for litigation to
28 loom over Nationwide when it should not. The law is clear that the stay does not
MoTIoN FoR RELIEF FéRoM AUTOMATic sTAY

 

 

 

 

 

\OOQ\]O\LI\LL)JN)-a

N[\JI\)[\)[\)N[\)[\)[\))-¢)-\\-Ai-\»~a)-\)-H»-\)-\
®\]O\()l-PWN*"‘O\SOQ\]O\!JI-PW[\)'-*O

ESe 14-03693-|\/||\/|7 F' d 07/29/15 Entered 07/30/15 1023 214 DOC 109 PQ. 7 019

apply to actions by the debtor, so there should be no reason to continue to prolong
(for an indeterminate amount of time) a potential resolution of Ausdemore’s case
against Nationwide,
CONCLUSION

Based upon the factors set forth in this motion and for good cause existing,
Nationwide requests that relief from stay be granted by this Court, thereby allowing
Nationwide’s Motion for Summary Judgment/Adjudication to be heard and ruled
upon by the San Diego Superior Court. _

Respectfully Submitted,

Dated: July 28, 2015 SCHWARTZ SEMERDJIAN
CAULEY & MOOT LLP

By:

 

vin T. a ley
Sie J. er

Attorneys for Defendant Nationwide
Mutual Insurance Company

7

 

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

 

 

f \

CaSe 14-03693-|\/||\/|7 Wd 07/29/15 Entered 07/30/15 102314 DOC 109 PQ. 8 Of 9

ha

Kevin T. Cauley, Esq. (SBN 105082)
SCHWARTZ SEMERDJIAN CAULEY & MooT LLP
101 West Broadway, Suite 810

San Diego, CA 92101

Tele hone: (619) 236-8821

Facsimile: (619) 236-8827

PROOF OF SERY [CE BY MAIL

I, Jennifer Welk, declare: That I am, and was at the time of service of the papers herein
referred to, over the age of eighteen years, and not a party to the action; and I am employed in the
County of San Diego, California in which county the within-mentioned mailing occurred. My
business address is 101 West Broadway, Suite 810, San Diego, California 92101.

I served the following documents:

\DOO\]O\(I\-§(JJN

,_..
O

l\/|OT|ON FOR RELIEF FROM THE AUTOMAT|C STAY
UNDER 11 U.S.C. § 362
(with supporting declarations)
(ACT|ON lN NONBANKRUPTCY FORUM)

,_...,_.\,_.\
U)[\)r-l

DECLARATlON OF S|ERRA J. SP|TZER |N SUPPORT OF MOT|ON FOR
REL|EF FRON| THE AUTOMAT|C STAY
UNDER 11 U.S.C. § 362

»-»-‘»-1
O\L/l-P

on the parties in said action by placing a true copy thereof in a separate sealed envelope for each
addressee named hereafter, addressed to each such addressee respectively as follows:

»--1»-1
O¢\l

Dennis Winters Ggry E, Slater
Winters Law Firm

1820 East 17th Street Timothy Truxaw
santa Ana, cA 92705 Slater & Truxaw, LLP

[\)v_
O\Q

15373 Innovation Drive, Suite 210
San Diego, CA 92128

NN
[\)»-o

Richard M Kipperman Jason R. Thornton

Corporate Management Marks, Finch, Thornton & Baird, LLP
P.O. Box 3010 4747 Executive Drive, Suite 700

La Mesa, CA 91944-3010 _ San Diego, CA 92121 7

NNNNN
\lO\U\-I>~UJ

l then sealed each envelope and, with the postage thereon fully prepaid,-placed it for mailing
with the United States Postal Service in accord with our business' practice at San Diego, California
on July 29, 2015.

!\J
O°

 

 

 

CaSe 14-03693-|\/||\/|7 Wd 07/29/15 Entered 07/30/15 102314 DOC 109 PQ. 9 Of 9

1 I am readily familiar with our business practice for collecting, processing, and mailing
correspondence and pleadings with the United States Postal Service. Such correspondence and
pleadings are deposited with the United States Postal Service on the same day that it is placed for
mailing in the ordinary course of business

l declare under penalty of perjury under the laws of the State of California that the foregoing
is true and correct.

Daie: Juiy 29, 2015 W\

Je ier elk

OQ\IO\U'I-l>~b~ll\)

a
D=

i0|
ii
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

2

 

PROOF OF SERVICE .BY MAIL

 

 

 

